     Case: 1:18-cv-07918 Document #: 35 Filed: 03/13/19 Page 1 of 1 PageID #:317

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Gregory Godfrey, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:18−cv−07918
                                                       Honorable Matthew F. Kennelly
Greatbanc Trust Company, et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 13, 2019:


        MINUTE entry before the Honorable Matthew F. Kennelly: Telephone status
hearing held on 3/13/2019 with attorneys for all parties. Any amended complaint or
motion for leave to file an amended complaint is to be filed by 3/29/2019. Telephone
status hearing, to be initiated by the parties, is set for 4/10/2019 at 8:45 a.m. Mailed
notice. (pjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
